

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-77,856-01






EX PARTE DIAUNTA SHERELL MELVIN, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 30085 IN THE 3RD DISTRICT COURT


FROM ANDERSON COUNTY





							

	Per curiam.

		

O P I N I O N



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of aggravated
robbery, theft, and possession of a controlled substance and was sentenced to imprisonment for forty-five, twenty, and two years, respectively.  The Twelfth Court of Appeals affirmed her convictions. 
Melvin v. State, No. 12-10-00153-CR (Tex. App.--Tyler 2011, no pet.). 

	Applicant contends that trial counsel rendered ineffective assistance. We remanded this
application, and after holding a live evidentiary hearing, the trial court concluded that counsel's
conduct was deficient and that there is a reasonable probability that Applicant's punishment would
have been different but for counsel's deficient conduct.  We agree.  Relief is granted.  Applicant's
sentences for aggravated robbery and theft in cause number 30085 in the 3rd District Court of
Anderson County are set aside, and Applicant is remanded to the custody of the Sheriff of Anderson
County for a new punishment hearing in these counts only.  Her sentence for possession of a
controlled substance has discharged.  Accordingly, this count is dismissed.  Tex. Code Crim. Proc.
art. 11.07, § 3(c).  The trial court shall issue any necessary bench warrant within 10 days after the
mandate of this Court issues.

	Copies of this opinion shall be sent to the Texas Department of Criminal Justice-Correctional
Institutions Division and Pardons and Paroles Division.


Delivered: May 8, 2013

Do not publish


